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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
                                             )       Case No. 14 CR 562-2
               v.                            )
                                             )       Hon. Amy J. St. Eve
                                             )
FRANCISCO NARVAEZ                            )

                         MEMORANDUM OPINION AND ORDER

AMY J. ST. EVE, District Court Judge:

       Defendant Francisco Narvaez has moved for a judgment of acquittal or, in the alternative,

a new trial on Count Two of the Indictment [143]. For the following reasons, the Court denies

Defendant’s motion.

                                        BACKGROUND

       On January 8, 2015, a grand jury returned an indictment (the “Indictment”) against

Francisco Narvaez (“Defendant”) and his co-defendants Abelardo Dominguez (“Dominguez”)

and Montrail Key (“Key”). Specifically, Count Two of the Indictment charged Defendant with

forcibly assaulting, resisting, opposing, impeding, intimidating, and interfering with a person

designated in Title 18, U.S.C. § 1114, namely Agent Two, who was a Special Agent of the Drug

Enforcement Agency (the “DEA”), while he was engaged in the performance of his official

duties, and in the commission of such acts used a deadly and dangerous weapon, in violation of

18 U.S.C. §§ 111(a) & (b). (R. 53.)

       Defendant pled not guilty to Count Two. Subsequently, Defendant proceeded to a two-

day jury trial. (R. 132, R. 136.) During the trial, the government called the following witnesses:

DEA Task Force Officer Daniel Soria, DEA Task Force Officer Stano Domma, Oak Lawn
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Police Department Officer Scannell, DEA Special Agent Christopher O’Reilly, Terrence Link,

DEA Task Force Officer Scott Musgrove, and DEA Special Agent Michael McClarence.

Defendant called Jeanne Infelise and did not testify at trial.

        The jury returned a verdict of guilty against Defendant on Count Two of the Indictment.

Defendant now moves for a judgment of acquittal or new trial on Count Two, pursuant to

Federal Rules of Criminal Procedure 29 and 33, respectively.

                                       LEGAL STANDARD

I.      Motion for Judgment of Acquittal – Rule 29

        Federal Rule of Criminal Procedure Rule 29(a) provides that, “[a]fter the government

closes its evidence or after the close of all the evidence, the court on the defendant’s motion must

enter a judgment of acquittal of any offense for which the evidence is insufficient to sustain a

conviction.” Fed. R. Crim. P. 29(a).

        “In challenging the sufficiency of the evidence, [a defendant] bears a heavy, indeed,

nearly insurmountable, burden.” United States v. Warren, 593 F.3d 540, 546 (7th Cir. 2010); see

also United States v. Miller, 782 F.3d 793, 797 (7th Cir. 2015) (“We have referred to this

standard as a nearly insurmountable hurdle[.]”) (inner quotation marks omitted) (citation

omitted); United States v. Molton, 743 F.3d 479, 483 (7th Cir. 2014); United States v. Torres–

Chavez, 744 F.3d 988, 993 (7th Cir. 2014); United States v. Jones, 713 F.3d 336, 339-40 (7th

Cir. 2013); United States v. Berg, 640 F.3d 239, 246 (7th Cir. 2011); United States v. Dinga, 609

F.3d 904, 907 (7th Cir. 2010); United States v. Morris, 576 F.3d 661, 665–66 (7th Cir. 2009).

The reviewing court will view the “evidence in the light most favorable to the prosecution,” and

the defendant “‘must convince’ the court that, even in that light, ‘no rational trier of fact could

have found him guilty beyond a reasonable doubt.’” Id. (quoting United States v. Moore, 572



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F.3d 334, 337 (7th Cir. 2009)); see also United States v. Eller, 670 F.3d 762, 765 (7th Cir. 2012);

United States v. Doody, 600 F.3d 752, 754 (7th Cir. 2010) (stating that the inquiry is “whether

evidence exists from which any rational trier of fact could have found the essential elements of a

crime beyond a reasonable doubt”). In other words, a court will “set aside a jury’s guilty verdict

only if ‘the record contains no evidence, regardless of how it is weighed,’ from which a jury

could have returned a conviction.” United States v. Presbitero, 569 F.3d 691, 704 (7th Cir.

2009) (quoting United States v. Moses, 513 F.3d 727, 733 (7th Cir. 2008)); see also Warren, 593

F.3d at 546. It follows that under Rule 29, courts “do not reassess the weight of the evidence or

second-guess the trier of fact’s credibility determinations.” United States v. Arthur, 582 F.3d

713, 717 (7th Cir. 2009); see also United States v. Severson, 569 F.3d 683, 688 (7th Cir. 2009).

This strict standard is recognition that “[s]orting the facts and inferences is a task for the jury.”

Warren, 593 F.3d at 547. Indeed, the Seventh Circuit teaches that:

         [t]he critical inquiry on review of the sufficiency of the evidence to support a criminal
         conviction must be not simply to determine whether the jury was properly instructed, but
         to determine whether the record evidence could reasonably support a finding of guilt
         beyond a reasonable doubt. But this inquiry does not require a court to ask itself whether
         it believes that the evidence at the trial established guilt beyond a reasonable doubt.
         Instead, the relevant question is whether, after viewing the evidence in the light most
         favorable to the prosecution, any rational trier of fact could have found the essential
         elements of the crime beyond a reasonable doubt.

Moore, 572 F.3d at 337 (quoting Jackson v. Virginia, 443 U.S. 307, 318–19, 99 S. Ct. 2781, 61

L. Ed. 2d 560 (1979)).

II.      Motion for a New Trial – Rule 33

         Rule 33 of the Federal Rules of Criminal Procedure provides that, “[u]pon the

defendant’s motion, the court may vacate any judgment and grant a new trial if the interest of

justice so requires.” Fed. R. Crim. P. 33(a); see also United States v. Berg, 714 F.3d 490, 500

(7th Cir. 2013); United States v. Smith, 674 F.3d 722, 728 (7th Cir. 2012) (reviewing a district


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court’s order on a Rule 33 motion for abuse of discretion); United States v. McGee, 408 F.3d

966, 979 (7th Cir. 2005). “‘[C]ourts have interpreted [Rule 33] to require a new trial in the

interests of justice in a variety of situations in which the substantial rights of the defendant have

been jeopardized by errors or omissions during trial.’” United States v. Eberhart, 388 F.3d 1043,

1048 (7th Cir. 2004) (quoting United States v. Kuzniar, 881 F.2d 466, 470 (7th Cir. 1989)),

overruled on other grounds, 546 U.S. 12, 126 S. Ct. 403, 163 L. Ed. 2d 14 (2005).

        “‘A jury verdict in a criminal case is not to be overturned lightly,’” however, “‘and

therefore a Rule 33 motion is not to be granted lightly.’” Eberhart, 388 F.3d at 1048 (quoting

United States v. Santos, 20 F.3d 280, 285 (7th Cir. 1994)). The court “may grant a new trial if

the jury’s verdict is ‘so contrary to the weight of the evidence that a new trial is required in the

interest of justice.’” United States v. Washington, 184 F.3d 653, 657 (7th Cir. 1999) (“The focus

in a motion for a new trial is not on whether the testimony is so incredible that it should have

been excluded. Rather, the court considers whether the verdict is against the manifest weight of

the evidence, taking into account the credibility of the witnesses.”); see also United States v.

Chambers, 642 F.3d 588, 592 (7th Cir. 2011). In other words, “[t]he court should grant a motion

for a new trial only if the evidence ‘preponderate[s] heavily against the verdict, such that it

would be a miscarriage of justice to let the verdict stand.’” United States v. Swan, 486 F.3d 260,

266 (7th Cir. 2007) (quoting United States v. Reed, 875 F.2d 107, 113 (7th Cir. 1989)); see also

Presbitero, 569 F.3d at 706.

                                            ANALYSIS

I.      The Evidence was Sufficient to Sustain Defendant’s Guilty Verdict

        Defendant argues that the “government failed to prove [Defendant’s] guilt of assaulting a

federal agent with a deadly or dangerous weapon in violation of 18 U.S.C. [§§] 111(a) and (b) on



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October 3, 2014, as alleged in [C]ount [T]wo (2) of the [I]ndictment beyond a reasonable doubt.”

(R. 143, Defendant’s Motion for Acquittal or New Trial, at 2.) The Court disagrees. During the

course of the trial, the evidence more than demonstrated that Defendant assaulted a DEA agent

with a deadly or dangerous weapon while the federal agent was engaged in the performance of

his official duties.

        When viewed in the light most favorable to the government, the evidence for each

element was exceptionally strong. To prove Defendant guilty of assault of a federal agent with a

deadly weapon, as charged in Count Two, the government had to prove the following elements:

1) Defendant assaulted, resisted, opposed, intimidated, or interfered with an officer or employee

of the United States or of any United States agency; 2) Defendant did so through force or

violence; 3) the officer or employee was engaged in the performance of his official duties at the

time; 4) Defendant intended to assault, resist, oppose, intimidate, or interfere with the officer or

employee; 5) Defendant used a deadly or dangerous weapon in the commission of the offense;

and 6) Defendant intended to use said weapon. See 18 U.S.C. §§ 111(a) & (b); see also United

States v. Vallery, 437 F.3d 626, 630 (7th Cir. 2006); (R. 135, Jury Instructions, at 17–18.) In all,

the government presented officer testimony, civilian testimony, and physical evidence that

established each of these elements beyond a reasonable doubt.

        A.      Element One

        Both the testimonial and physical evidence established that Defendant assaulted, resisted,

opposed, intimidated, or interfered with a federal officer. Agent O’Reilly, one of the DEA

agents Defendant assaulted, provided reliable and credible testimony. Specifically, the DEA

orchestrated a “reverse” methamphetamine transaction. Indeed, in the hours leading up to

Defendant’s October 3, 2014 arrest, a DEA undercover agent (the “UC”) convinced Defendant’s



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co-defendant, Abelardo Dominguez, that the UC was going to deliver them up to ten pounds of

methamphetamine. Mr. Dominguez then communicated the details to Defendant. A few hours

later, DEA surveillance observed Defendant enter the restaurant parking lot in a silver Dodge

truck where the sham deal would take place. Law enforcement subsequently saw Defendant, Mr.

Dominguez, and their co-defendant, Montrail Key, exchange money with the UC for what they

believed were four pounds of methamphetamine. In fact, it was a cooler full of a non-narcotic

substance that simply resembled methamphetamine. After loading the sham drugs into the bed

of Defendant’s truck, Defendant pulled out of the restaurant parking lot. DEA surveillance

videos and testimony corroborated this series of events.

       DEA Agent O’Reilly and other agents followed Defendant’s truck as he departed the

restaurant with what he believed was cooler full of drugs. Agent O’Reilly testified that he

observed Defendant’s truck stopped at a street light, positioned north of a nearby light pole. He

then described how he approached Defendant’s vehicle, gun drawn, and initiated his arrest,

instructing Defendant to exit the vehicle. Defendant, Agent O’Reilly testified, refused. Next,

Agent O’Reilly explained that Defendant, instead of exiting the truck as instructed by Agent

O’Reilly and other officers, drove over the curb and at Agent O’Reilly. Indeed, Agent O’Reilly

testified that Defendant’s truck “was coming right [him],” and he “jumped” out of the way.

Ultimately, Defendant’s truck came within “inches” of hitting Agent O’Reilly. Afterward,

Defendant continued driving down the street and fled the scene. Further, Agent O’Reilly’s

testimony was corroborated by Agent McClarence and Officer Musgrove. Moreover, Terrence

Link, a civilian witness with no stake in the matter, also corroborated Agent O’Reilly’s

testimony. Mr. Link observed Defendant’s actions from where he was parked across the street

and testified consistently with the agent’s testimony. The physical evidence also helped establish



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this element. Indeed, the photographs from the crime scene showed black tire marks along the

street curb located north of the light pole, consistent with a truck tire driving off the street and

over the curb.

       Additionally, Agents McClarence and O’Reilly testified that, after Defendant fled the

scene, he then fought with the federal law enforcement officers. Specifically, both agents

testified that, after Defendant fled the arrest scene, the agents pursued Defendant, discovering

him outside an apartment complex. See United States v. Russell, 662 F.3d 831, 851 (7th Cir.

2011) (“Where a defendant flees in the immediate aftermath of a crime or shortly after he is

accused of committing the crime, the inference that he is fleeing to escape capture and

prosecution is strong.”) (citing United States v. Jackson, 572 F.2d 636, 640–41 (7th Cir. 1978)).

Upon attempting to arrest him a second time, the agents explained that Defendant attacked Agent

O’Reilly and brought both agents down a set of stairs. The agents ultimately arrested Defendant,

but only after this physical interaction. In total, considering all of this evidence in the light most

favorable to the government, a rational trier of fact could have found that Defendant assaulted,

resisted, opposed, intimidated, and interfered with a federal officer. Thus, the evidence

sufficiently proved the first element of Count Two.

       B.        Elements Two and Three

       Likewise, the government’s evidence sufficiently supported the second and third

elements. Specifically, the government had to prove that Defendant committed the above acts

through force or violence while the federal law enforcement officers were engaged in the

performance of their official duties. As described in more detail above, the agents’ and Mr.

Link’s testimony illustrated that Defendant assaulted, resisted, opposed, intimidated, and

interfered with Agent O’Reilly by driving his truck directly at him. This act exemplifies force or



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violence. Importantly, “an assault may be committed without actually touching, striking, or

injuring the other person.” United States v. Watts, 798 F.3d 650, 653 (7th Cir. 2015); see also

(R. 135, Jury Instructions, at 19.) Accordingly, the fact that Defendant may not have actually

struck Agent O’Reilly with his truck does not preclude a factfinder from concluding that

Defendant assaulted Agent O’Reilly.

       Moreover, according to the agents’ testimony, Defendant committed these acts while the

agents attempted to arrest him for his involvement in the drug transaction. As a result, the agents

were performing their official duties as federal law enforcement officers. Thus, a rational trier of

fact could reasonably conclude that the government proved the second and third elements

beyond a reasonable doubt.

       C.      Elements Four, Five, and Six

       Finally, the evidence sufficiently demonstrated that the government proved the remaining

elements beyond a reasonable doubt—that Defendant intended to commit the above acts, did so

with a deadly or dangerous weapon, and intended to use said weapon. First, the Court instructed

the jury that a “deadly or dangerous weapon” included “any object that has the potential or

capability to endanger life or to inflict great bodily harm and is used by the defendant in a

manner that has the potential or capability to endanger life or to inflict great bodily harm.” (R.

135, Jury Instructions, at 20.) A reasonable jurist could conclude that a pick-up truck is capable

of endangering a person’s life or inflicting great bodily harm in light of the manner in which

Defendant used it. United States v. Arrington is informative. There, the D.C. Circuit held that

“for a car to qualify as a deadly weapon, the defendant must use it as a deadly weapon and not

simply as a mode of transportation.” 309 F.3d 40, 45 (D.C. Cir. 2002). The court further noted,

       [t]he Park Service officers testified that they reached into [the defendant’s] car
       and grabbed the defendant around his upper body. At that point, [the defendant]


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       reached down, put the gearshift into the drive position, and ‘took off’—throwing
       two of the officers away from the car and dragging another for at least 50 feet
       through an intersection. Such testimony was sufficient for a reasonable juror to
       find that [the defendant] forcibly assaulted the officers, that he did so
       intentionally, that he used his car in the commission of that assault, that he used
       his car intentionally, and that he used the car as a deadly weapon. Nothing more
       is required to sustain a conviction for violating § 111(b).

Arrington, 309 F.3d at 49. Here, the agents’ and Mr. Link’s testimony was that Defendant

attempted to hit Agent O’Reilly with his pick-up truck. Indeed, Agent O’Reilly instructed

Defendant to exit his vehicle, and, instead, Defendant drove his truck at Agent O’Reilly, coming

within “inches” of hitting him. Viewing the evidence in the light most favorable to the

prosecution, there is no doubt that a reasonable juror could conclude that Defendant used a

deadly or dangerous weapon in committing the assault charged in Count Two.

       Second, the evidence illustrated Defendant’s intent to commit the assault and use the

deadly weapon. The DEA task force agents testified about Defendant’s involvement in an

October 3, 2014 reverse methamphetamine transaction. Described in further detail below, this

evidence shed light on Defendant’s motive. Indeed, the drug transaction evidence demonstrated

that Defendant intended to avoid being arrested for a narcotics offense by attempting to run over

the arresting agent and escape, rather than oblige commands to exit the vehicle. In other words,

Defendant intended to commit the acts charged in Count Two using his pick-up truck.

Therefore, the evidence supported elements four and six, respectively.

       In sum, the evidence amply supported each of Count Two’s elements beyond a

reasonable doubt and, as a result, Defendant’s guilty verdict. Accordingly, the record falls far

from containing “no evidence . . . from which a jury could have returned a verdict.” Presbitero,

569 F.3d at 704. Likewise, this plethora of evidence does not “preponderate heavily against the




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verdict[.]” Swan, 486 F.3d at 266. Thus, Defendant’s motion seeking an acquittal and/or new

trial under Rules 29 and 33, respectively, is denied.

II.      Defendant Has Failed to Identify Any Errors that Require a Judgment of Acquittal
         or New Trial

          A.      Defendant’s Evidence of the October 3, 2014 Reverse Methamphetamine
                  Transaction was Admissible

          Defendant further argues that the Court erred when, “over defense objection[,] it granted

the government’s Motion in Limine allowing them to introduce evidence of the October 3, 2014

reverse Methamphetamine transaction pursuant to Fed. R. Evid. 404(b).” (R. 143, Defendant’s

Motion for Acquittal or New Trial, at 1.) The Court disagrees. The drug transaction evidence

was admissible under Federal Rules of Evidence 404(b).1

          Federal Rule of Evidence 404(b) provides, in relevant part, the following:

          (b) Crimes, Wrongs, or Other Acts.

                  (1) Prohibited Uses. Evidence of a crime, wrong, or other act is not
                      admissible to prove a person’s character in order to show that on a
                      particular occasion the person acted in accordance with the character.

                  (2) Permitted Uses. This evidence may be admissible for another purpose,
                      such as proving motive, opportunity, intent, preparation, plan,
                      knowledge, identity, absence of mistake, or lack of accident.

Fed. R. Evid. 404(b)(1) & (2).

          At the time of the Court’s ruling, the government intended to use the October 3, 2014

reverse methamphetamine transaction evidence to illustrate Defendant’s motive. Section 111, as

charged in Count Two, is a general intent crime, meaning the government simply had to prove

that Defendant “intended to commit a forcible assault.” United States v. Woody, 55 F.3d 1257,

1265-66 (7th Cir. 1995). To do so, the government used the reverse methamphetamine


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 The Court issued a detailed ruling on this issue in advance of trial and incorporates its ruling herein. (See,
generally, R. 77, Memo. Op.)

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transaction to highlight Defendant’s alleged motive—to avoid being arrested and charged with

the narcotics transaction. In other words, the drug transaction provided a reason why Defendant

would intend to try running over Agent O’Reilly with his pick-up truck. Thus, the motive

evidence provided a “propensity-free chain of reasoning for its admission,” making the evidence

admissible under Rule 404(b). United States v Gomez, 763 F.3d 845, 869 (7th Cir. 2014); see

also United States v. Schmitt, 770 F.3d 524, 534 (7th Cir. 2014).

       Further, Federal Rule of Evidence 403 did not preclude the admission of the drug

transaction evidence. Rule 403 provides that

       [t]he court may exclude relevant evidence if its probative value is substantially
       outweighed by a danger of one or more of the following: unfair prejudice,
       confusing the issues, misleading the jury, wasting time, or needlessly presenting
       cumulative evidence.

Fed. R. Evid. 403; see also Gomez, 763 F.3d at 860. “The more probative the evidence, the more

the court will tolerate some risk of prejudice, while less probative evidence will be received only

if the risk of prejudice is more remote.” United States v. Boros, 668 F.3d 901, 909 (7th Cir.

2012) (citing United States v. Vargas, 552 F.3d 550, 557 (7th Cir. 2008)). Rule 403 excludes

“other-act evidence that may be slightly probative through a non-propensity theory but has a high

likelihood of creating unfair prejudice by leading a jury to draw conclusions based on

propensity.” United States v. Chapman, 765 F.3d 720, 726 (7th Cir. 2014) (citing Gomez, 763

F.3d at 857).

       Here, the drug transaction evidence was probative and not unfairly prejudicial. As

described above, this evidence contextualized the charged crime, illustrating a potential motive

as to why Defendant would intend to assault a federal law enforcement officer. Moreover, in

light of the limiting instructions the Court issued to the jury, the evidence’s probative nature was

not substantially outweighed by the risk of unfair prejudice. See United States v. Eads, 729 F.3d


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769, 777 (7th Cir. 2013) (“Because all probative evidence is to some extent prejudicial, we have

consistently emphasized that Rule 403 balancing turns on whether the prejudice is unfair.”)

(citing United States v. McKibbins (7th Cir. 2011)) (emphasis in original). Specifically, the

Court instructed the jury that

       [y]ou have heard testimony about an attempt to purchase methamphetamine that
       occurred prior to the assault on a federal law enforcement officer charged in the
       indictment. . . . If you decide that the attempted purchase took place and that
       Francisco Narvaez was aware of it, then you may consider that evidence to help
       you decide Francisco Narvaez’s motive to commit the charged assault. You may
       not consider this evidence for any other purpose. To be more specific, you may
       not infer that, because Francisco Narvaez was aware of the attempted purchase of
       methamphetamine, he must have committed the assault on a federal law
       enforcement officer charged in the indictment. The reason is that Francisco
       Narvaez is on trial here for the specific charges of assault on a federal law
       enforcement officer. He is not on trial for the attempted purchase of
       methamphetamine. It is the government’s burden to prove beyond a reasonable
       doubt the elements of the assault on a federal law enforcement officer charged in
       the indictment. The government cannot meet its burden by inviting you to infer
       that Francisco Narvaez is a person whose other acts suggest he had a bad
       character or a tendency to commit crimes.

(R. 135, Jury Instructions, at 14.) This limiting instruction helped “reduc[e] or elminat[e] any

possible unfair prejudice from the introduction of [the] Rule 404(b) evidence.” United States v.

Clark, 774 F.3d 1108, 1116 (7th Cir. 2014). As a result, the October 3, 2014 drug transaction

evidence was admissible under Rule 403. Thus, the Court did not err in granting the

government’s motion in limine.

       B.      Defendant’s “Theory of Defense” Jury Instruction was Improper

       Defendant next contends that the Court erred when it rejected his proposed jury

instruction number eight, a “theory of defense” instruction. Specifically, Defendant’s proposed

instruction provided as follows:

       It is Francisco Narvaez’ theory of defense that he did not use or intend to use the
       pic-up truck as a deadly or dangerous weapon, but rather as a mode of
       transportation to effectuate his flight and escape.


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       Use of a vehicle merely as a mode of transportation to effectuate flight or escape
       does not constitute use of the pick-up truck as a deadly or dangerous weapon.

       If you find that Francisco Narvaez used the pick-up truck merely as a means of
       flight to effectuate his escape, you should find him not guilty.

(R. 120, Defendant’s Second Supplemental Proposed Jury Instructions, at 2; R. 143, Defendant’s

Motion for Acquittal or New Trial, at 1–2.)

       As the Court noted in its February 2, 2016 ruling in open court, however, “‘[d]efendants

are not automatically entitled to any particular theory-of-defense jury instruction.’” United

States v. Cruse, 805 F.3d 795, 814 (7th Cir. 2015) (quoting United States v. Walker, 746 F.3d

300, 307 (7th Cir. 2014)). Indeed,

       [a] defendant is only entitled to a jury instruction that encompasses [a] theory of
       defense if (1) the instruction represents an accurate statement of the law; (2) the
       instruction reflects a theory that is supported by the evidence; (3) the instruction
       reflects a theory which is not already part of the charge; and (4) the failure to
       include the instruction would deny the defendant a fair trial.

Id. (quoting Walker, 746 F.3d at 307) (internal quotation marks and alteration omitted).

       Here, Defendant was not entitled to his proposed “theory of defense” instruction, as he

failed to fulfill the first prong. Defendant’s argument that Defendant must have intended to use

the object specifically as a deadly or dangerous weapon, as opposed to simply as a means of

escape, does not “represent[] an accurate statement of the law.” Id. Again, Arrington is

instructive. There, the D.C. Circuit concluded that

       [Defendant’s] proposed [“intent to use the object as a weapon”] element is
       certainly not suggested by the language of § 111(b), which simply requires that
       the defendant “use” a deadly or dangerous weapon in the commission of the acts
       described in § 111(a). Nor is § 111(b) bereft of a mens rea requirement.
       Conviction requires both the intent to commit one of the acts specified in §
       111(a), and the intent to use the object that constitutes the deadly weapon.
       Finally, such evidence of legislative intent as exists counsels against adding
       anything further. As the Supreme Court noted in Feola, Congress intended § 111
       to protect federal officers to the maximum extent possible[.]


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Arrington, 309 F.3d at 44 (citing United States v. Feola, 420 U.S. 671, 684, 95 S. Ct. 1255, 43 L.

Ed. 2d 541 (1975)). As long as Defendant intended to use the weapon, Defendant could be

found guilty. As a result, Defendant was not entitled to a “theory of defense” instruction, and its

absence did not deny Defendant a fair trial.

       In the alternative, if Defendant’s instruction simply aimed to require the jury to find that

Defendant intended to use the weapon generally, his request failed the third prong. Indeed,

Defendant’s theory was unnecessarily redundant in light of the elements the government had to

prove under Count Two. (See R. 135, Jury Instructions, at 17.) The Court instructed the jury

that the government had to prove that Defendant not only used a deadly or dangerous weapon in

the commission of the charged assault, but that he also intended to use said weapon. Moreover,

the “assault definition” jury instruction made clear that assault means to “intentionally attempt or

threaten to inflict bodily injury upon another person with the apparent and present ability to

cause such injury that creates in the victim a reasonable fear or apprehension of bodily harm.”

(R. 135, Jury Instructions, at 19, emphasis added.) As such, the instructions already captured

Defendant’s proposed theory. See Arrington, 309 F.3d at 44 (highlighting § 111(b)’s mens rea

requirement).

       Thus, the Court’s refusal to give Defendant’s “theory of defense” instruction was

consistent with the law and the facts in the case. Accordingly, the Court did not err in its ruling.

III.   Defendant’s Additional, Undeveloped Arguments Fail

       Defendant lists four additional alleged errors that he claims require a judgment of

acquittal or, in the alternative, a new trial. Specifically, Defendant asserts the following: 1)

Defendant did not receive a fair and impartial trial, as guaranteed under the Fifth Amendment of

the U.S. Constitution; 2) Defendant was denied due process of law, as guaranteed under the Fifth


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Amendment; 3) Defendant was denied equal protection of law, as guaranteed under the Fifth

Amendment; and 4) the Court erred in overruling Defendant’s evidentiary objections and in

sustaining the government’s.

       Defendant has not developed these arguments, failing to provide any analysis. Thus,

Defendant has waived them. The Seventh Circuit has made clear that undeveloped and merely

perfunctory arguments like this are waived. See United States v. Beavers, 756 F.3d 1044, 1059

(7th Cir. 2014) (finding that arguments “without discussion or citation to pertinent legal

authority” in opening brief were waived); see also United States v. Hassebrock, 663 F.3d 906,

914 (7th Cir. 2011) (finding the argument was “decidedly underdeveloped and therefore

waived”); United States v. Foster, 652 F.3d 776, 792 (7th Cir. 2011) (“As we have said

numerous times, undeveloped arguments are deemed waived[.]”) (internal quotation marks and

citation omitted); Willis v. Lepine, 687 F.3d 826, 836 (7th Cir. 2012) (“Merely reciting the Rule

59(a) standard and then tossing the motion into the court’s lap is not enough. Failure to

adequately present an issue to the district court waives the issue on appeal.”). As a result,

Defendant has waived his four additional, undeveloped arguments, and the Court denies his

motion for acquittal and/or a new trial on these undeveloped arguments.




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                                        CONCLUSION

       For the foregoing reasons, the Court denies Defendant’s post-trial motions for acquittal

and/or a new trial under Federal Rules of Criminal Procedure 29 and 33.



DATED: May 16, 2016                                        ENTERED



                                                           ______________________________
                                                           AMY J. ST. EVE
                                                           United States District Court Judge




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